






						NO. 12-08-00313-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


ROBERT EARL CALIP,§
		APPEAL FROM THE 114TH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	Robert Earl Calip appeals his conviction for possession of a controlled substance. 
Appellant's counsel has filed a brief asserting compliance with Anders v. California, 386 U.S. 738,
87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967) and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App.
1969).  We dismiss Appellant's appeal for want of jurisdiction.


Background


	Appellant was charged by indictment with possession of a controlled substance.  As alleged,
the offense was a state jail felony.  However, the grand jury also alleged that Appellant had two
prior, sequential felony convictions.  See Tex. Penal Code Ann. § 12.42(a)(2) (Vernon 2005). 
Accordingly, the range of punishment was that of a second degree felony.  Id.  Appellant pleaded
guilty, and the trial court placed him on deferred adjudication community supervision.  Appellant
violated the terms of his community supervision.  Following a hearing, the trial court found him
guilty, revoked his community supervision, and sentenced him to imprisonment for eight years.  

	At the conclusion of the hearing, the trial court asked if Appellant wished to give notice of
appeal.  Appellant's counsel informed the court that Appellant had filed "waivers."  The record
contains a waiver signed by Appellant and filed the day of the hearing.  In the waiver, Appellant
stated that he understood his right to appeal, did not wish to appeal, and expressly waived his right
to appeal.  Both Appellant and the trial court signed a certification confirming that Appellant had
waived his right to appeal.  Weeks later, Appellant wrote to the court requesting to appeal his
conviction.  Counsel was appointed, and this appeal followed.  After reviewing the record, counsel
filed an Anders brief and a motion to withdraw.


Conclusion


	The trial court's certification shows that Appellant waived his right to appeal.  See Tex. R.
App. P. 25.2(d).  The certification is signed by Appellant and his counsel.  The clerk's record
supports the trial court's certification.  See Greenwell v. Thirteenth Court of Appeals, 159 S.W.3d
645, 649 (Tex. Crim. App. 2005); Dears v. State, 154 S.W.3d 610, 614-15 (Tex. Crim. App. 2005). 
Accordingly, we dismiss this appeal for want of jurisdiction.  We take no action on counsel's
motion to withdraw.

Opinion delivered August 19, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.










(DO NOT PUBLISH)


